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          IT ISM REBY OO ERED that,pursuantto 18U.S.C.3605thejurisdice nQfQlestly rvised
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    UNITED STATESDISTRIW COURT FORTHE SOUTHBRN DISTIW OF FLOY DA

         IT IS HEREBY ORDXRED that,jurisdictionovqrQw above-namedprobationer/supervised
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      UNITED A ATES OF AMERIGA
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      2:1yGM 3M 1.R% :MAU HEW KLEINSMITH                                                * 3@f4
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      1.    Thedefendantshalln:tI
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       UNITED STATESOF AMERICA
                                                 Ce     alIndictment
                                                 No. g 11 a c 1,()0 3 v
       M ATTIIEW KLEINSMITH


       THE GRAND JURY CHARGFSTHAT:

                                        CountO ne
          1. Beginning on orbefore August1,2008 and continuing untilon orafter
       A ptem ber7,2010,in theNorthern DistrictofGeorgia and elsewhere,the
       defendant,M ATTH EW KLEINSM ITH,did deviseand intend todeviseascheme
       and arf ice to defraud Ron Onorato,doing businessasThe NorthpointGroup,
       Inc.and PointSatelliteand PointBerkeley,and did obtain approxim ately $3.1
       m illion from Ron Onorato,doing busl essasTheN orthpol tGroup Inc.and
       PointG telliteand PoinyBerkeley,by meanqoffalseand fraudulentpretenses,
       zepresentauonsaand prom iKes,and by theom ission ofm aterialfacl/knowing
       and havtng reason to know thatsaid pretenses,representations,and prom tqes
       wereand w ould be falseand fraudulentwhen m adeand thatsaid om issiorts
       w ereofm aterialfacts,and thedefendantdid execute said schem eand artifice to
       defraud and toobtam money by fraud by m ennAofwire,radio,and television
       com municationsofcertain signs,signals,m d soundsin interstatecom merce.
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          2. Itispertinentto theschem eand artificeto defzaud thatRon Onorato
       (Onorato)wasarealestatedeveloper,doingbusMessasNorthpointGroup Mc.,
       and thattwoofhisprojecl werePointSatelliteand PointBezkeleylocated inthe
       Northem DistrictofGeorgia.
          3. Itis furtherpertinentto the schem eand aruficetodefraud thatO norato
       obtained construction loansfrom lending H titutionsto fund construction ofthe
       PointSatelliteandPoltBezkeleyprojects.
          4. Itisfurtherpertinentto the schem eand artifice todefraud thatby late
       sum m er2008,Onozato bad com pleted construction ofPointSatellite and Phases
       O neand Two ofPointBerkeley and w asengaged in theconstruction ofPhase I1I
       ofPointBerkeley.
          5. ltisftzrtherpertinentto theschem eand artificetodefraud thatù)the fall
       200% Onoratosoughtpermanentfinancl gthatwould beused topayoffthe
       construcqon loanshehad obtained to build PointSatellite and PointBerkeley,
       How evex,bK auseofthefinancialcircum stancesoftheeconomy atthetim e,
       Onorato wasnotable to obtal perm anentfinancMg from traditionalbanking
       institutionsbecausethoseinstitrtionswerenotm akl g new lonnK.'fherefore,
       Onozato wasforced to seek pezm anentfinancing from nonKonventionalsources.
          6. Itw aspartofthescheme and artifice to defzaud thatin tbefall2008,
       defendantoperated a businesscalled Park CapitalGroup,LLC,purportedly
       located in M iam i,Florida.
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         7. Itwas furtherapartoftheschem eand ardfice to defraud thata thirdparty
      introduced Onorato to defendant.Defendantportrayed him selfto Onorato asa
      loan brokerwhocould obtain non-convenuonalfinancing forOnorato.
         8. Itw asfurtheza partofthescheme and artifice to defraud thaton orabout
      Novem ber3,2008,defendanttold Onorato thathewasinvolved w ith aprogram
      thatw ould yield ten to oneleverage,m eaning thatOnorato w ould pay in
      advance 10% oftherequested loan amount.Defendantfurthertold Onorato that
      hehadclosed multipleloansrangingfrom $2million to$70m illionofthis117e
      w ith Ciaxa Bank in M adrid,Spain.How ever,in truth and in fact,defendanthad
      notclosed muluplem ulti-m illion dollarloanswith Ciaxa Bank in Spain in which
      a 10% advancefœ wasrequired.
         9. Itw asfurthera partoftheschem eand artifice to defraud thatdefendant
      advksed O norato thathe would be traveling to Spain thelastweek ofNovember,
      and thatifOnorato w anted to obtain the10 to 1leveraged financinp he would
      need to m akeacomm i% entbefore defendantlefton hiseip.
         10.Itw asfurtheza partoftl4escheme and ardficeto defraud thatOnorato
      asked defendantto provide hhn with areferencefora sim ilaztransaction
      defendanthad closed in thepast.Ddendantstated thatitw ould notbe a
      problem and thathe would arrange forOnorato to IIItto RobertLopez,areal
      estatedevelopexinFloridaforwhom defendanthadjustclosed a$40mm ion
      loan.Onorato and defendant,along with third parties,talked on the telephone
      w ith aperson w ho claim ed to be RobertLopez,arealestatedeveloperin M iam i,
      Florida.RobertLopez told Onorato,defendant,and theotherpersonson thecall

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      + athehad recently closed a $40m iltion toan obtal ed forhtm by defendantand
       thateverythinghad gonesmoothlyjustasdefendanthadadvised him in
      advancethatitwould.How ever,in kuth and in fact,theperson wbo puzported
      tobeRobertLopez,therealestatedeveloperon the phonecall,w asashill
      em ployed by defendanttoporkay bim selfasarealestaiedevetoper,thatthe
      person wasnotarealesutedeveloper,and thati e person had notclosed a
      m ulti-m ulion dollarloan through defendant.
         11.Itw asfurtherapartoftheschem eand artifice to defraud thaton orabout
      November24.2008,defendantcaused Onoratotowiretransfer$1.36millionto
      defendant,doing businessasPark CapitalGroup,LLC.Onorato sentthe$1.36
      m illion to defendantbased on defendanesfalseand fraudulentrepresentations
      thathewould leveragethe$1.36 m illion tim es10 and obtain a loan from Ciaxa
      BankforOnorato in theam ountof$13,600,000 which Onorato intended to useas
      permanentfinancing forhisPointSatelliteproject.However,in œuthand infact,
      on N ovem ber25,2008,defendantwized tansferred $1m illion ofthe fundssent
      to him by Onorato to RealisticEnterprisesin partialsettlem entofa lawsuitfiled
      by Realisdc Enterprisesagainstdefendantforrecovery ofa sim ilaradvancefee
      paid todefendantby RealisticEnterprisesto obtnin a loan forRealistic
      Enterprises.Defendantfailed to adviseOnozato thathe M tended to send m ostof
      Onorato'sm oney to Realltk Enterprisesasrepaym entfordefendant'sfailureto
      obtain aloan on behalfofRealistic Enterprises.Defendant'sfailure to advise
      Onorato thatddendantw asusing Onorato'sm oney in thisway wasam aterial
      om ission.

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          12.Itwasfurtherapartoftheschem e and artificeto defraud thatin late
       November2008,defendantreported toOnoratothathehadjustreturned from
       histrip toSpaia 1athis kip wassuccessful,and hehad been prom ised funding
       forOnorato'sloaninm id-lanuary.However,intruthand in factdefendantdid
       noteaveltoSpain in late Novem ber2008,and defendantdid notobtain a
       com miM entfrom CiaxaBank tolend Onorato $13,600,000.
          13.Itw asfurtherapartoftheA hem e and artifice to defraud thatdefendant
       also told Onorato thathehad obtained acorrtm itm entfrom Ciaxa Bank to
       providefundingforpermanentfinancingforOnorato'sPointBerkeleyproject
       and thatin orderforOnorato to obtain thefinancing hewould haveto pay
       anotheradvm ce fee of10% ofie loan amount.However,in kuth and in fact
       defendanthad notobtained a conuni% entfrom CiaxaBank to provide funding
                                                               .



       forOnorato'sPointBerkeleyproject.
          14.1tw asfurtherapartofthescheme and artifice to defraud thatdefendant
       bw ited Onorato tovisithim athisnew housein Cincinnati,Ohio overthe
       Thanksgiving w eekend.Onorato kaveled to Cincinnntito theaddressprovided
       by defendantand metdefendantatam ulti-m illion residencew ith aFerrari

       automobileparked in thedriveway.Defendantclaimed thathehadjust
       purchased the residenceand thathehad boughttheFerrariasa retirem entgift
       forhisfather,Ddendantalsostated thathewas planning to open a Park Capital
       Gro'
          up officein Cinckm ati.Defendanttook Onorato to an office building in
       Cincinnad whichdefendantclaimedhehadjustpurchased.Defendanttold
       Onorato thatheintended to build outthe third floorw hich w ould serveasthe
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       CMce atiofhceforPark CapitalGroup. H ow ever,m truth and in fact,the
       residence did nd belong to defendant,defendanthad notpurchased theoffice
       buildinp and defendantdid nothavean agreem entto build outspacefor: Park
       CapitalGroup officein Cincinnati.Defendantalso failed to adviseOnorato that
       he had purchased the Ferrariwith ftm dshe had obtained Irom the advance fee
       Realistic Enterpriseshad paid to defendantto obtain funding forRealisuc
       Enterprises.Defendant's failure to do so was;m atezialom ission.
          15.Itw asfur+ erapartoftheschem eand artifice to defraud thaton orabout
       December12,2008,defendantand Onoratoentered into an ap eementwherein
       defendantw ould obtain a loan in theam ountof$34,400,000 on behalfof
       Onorato.Pumuantto l eag eem ent,Onorato was to pay an advance feeof5.1%
       or$1.75m43lion and defendant,doingbusiner asPark CapitalGroup,wasto
       pay an advancefeeof4.9%.
          16.1tw.
                asfurtherapartofthe schem eand artifice to defraud thaton orabout
       Decem ber 12,2008,defendantcaused Onorato to wire tn nsfer$1.25 m illion to
       defendant,doing businessasPgrk CapitalGroup,LLC.The $1.25 mt
                                                                  'llion was
       intended to bean advancefee which would be used by defendantto obtain a
       loan from Ciaxa Bank.Onorato sentthe$1.25 m illion to defendantbased upon
       defendant's false and fraudulo trepresentauoM thatdefendantw ould use the
       fundstoobtain a loan from CiaxaBaA forOnorato in theam otm tof$34,400,000
       which Onorato intended to useaspermanentfinancing forhisPointBerkeley
       project.However,in truthand infacton December12,2008,defendantwired
       trnnqferred $1m illion ofOnorato'smoney to a third party who wasnotkwolved

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       in loan financingw ith CiaxaBank.Defendant'sintention to w irekaM fer$1
       M llion to a third party who w asnotconnc ted to CiaxaBm k wasan om ission of
       a materialfactby defendant.
          17.ltw asfurthera partofthe schem eand artificetodefraud thaton orabout
       Decem ber16,2008,defendantcaused Onorato tow irekansfer$500,000 to
       defendant,doing businessasPark CapitalGroup,LLC.Onorato sentthe
       $500,000 to defendanttocomplete thepaym entofthe$1.75 m illion advancefee
       paym entthatdefendantrepra ented hewould use to obtain aloan from Ciaxa
       Bank forO norato in the am ountof$34,400,000 which Onorato intended to use as
       permanentfH ncingforhisPointBerkeleyproject.However,in truthand infact
       on DecemG r76,200% defendantwired kanAferred Onorato's$500,000to
       Realisdc Enterprises:4fue ersettlementofdefendant's debtto Realistic.
       Defendant'sintenuon to w ire œansfer$500,000 to a Realistic Enterprisesrathez
                        .



       than usethefundsasan advancefeeto obtain aioan forOnorato w ith Ciaxa
       Bankwasan om ission ofa materialfactby defendant.
          18.ltw asfuzthera partofthescheme and arufice to defraud thatthereafter
       defendantadvised Onorato 1 athe had again taveled toSpain to m eetw ith
       officialsatCiaxa Baak and thathehad suœ er fully obtaled theprom ised
       1 4,400,000in financingforOnorato'sPointBerkeleyprojectHowever,in truth
       and in factdefendantdid notkaveltoSpain,defendantdid notcontribute4.9%
       toward theadvancefee,and defendantdid notobtain acomm i% entfrom Ciaxa
       BanktolendOnorato$34,400,800.
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           19.On oraboutNovember15, 2008,in theNorthem DtstfictofGeorgiaand
       elsew here.thedefendant,M AU H EW KLEINSM ITH , forthepurposeof
       executins theaforesaid schem eand artificetodefraud and attem pting to do so,
       and to obtain and attem ptto obtain m oney from Onorato by m eansoffalseand
       fraudulentpretenses,representations, and pzom ises and by the om iAsion of
       m aterialfacts,did cause tobeœarksm itted in interstatecom merce by m eartsof
       interstate wize,radio,and teleklion com m unicationscertain signs, signals,and
       sounds,that15,atelephonecallbetwe n Ron Onorato in le Norl ern Dis/ictof
       Georgiaand defendantin M iam i,Florida,in violauon ofTitle18,United States
       Code,A uon 1343.

                                         CountTw o

          20.n egrandjuryallegeseachand everyallegationsetforthinparagraphs1
       through 18 ofCotm tOne above,as ifeach and every allegaNon w asfully set
       forth heretn.
          21.On oraboutNovem ber20,2œ 8,in the Northern DiseictofGeoxgiaand
       elsewhere,the defendant,M AU HEW KLEINSM ITH,forthe purpose of
       execu% g the afozo aid scheme and artihce to defraud and attem pting todo so,
       and toobtain and attem ptto obtain m oney from Onoratoby meansoffalseand
       fraudulentpretem es,representations,and prom isesand by theom ission of
       m aterialfacl,did causeto be tra> m itted in interstatecom m erce by m eanAof
       interstate wire,radio,and television com m unicatiorkscertain signs,signals,and
       sounds,1 atis,a telephonecallbetween Ron Onorato and others in the Northern
       DisœictofGeorgiaand defendantand a person purporting to beRobertLopez,a
                                              8
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       realestate developerwho had recently obtained a loan ofapproximately$40
       m illion w ith defendant'sassistance. in M iarni,Florida,in violadon ofTitte18#
       United StatesCode,Section 1343.

                                         CountThree
          22.V esandjuryallegeseachand everyallegation setforthin paragraphs1
       thzough 18 ofCountO neabove,asifeach and every allegation wasfully set
       forth herein.
          23.On oraboutNovem ber24,2008,in theNorthern DisuictofGeorgia and
       elsewhere,theddendant,M AW H EW KLEm SM ITH ,forthe purposeof
       execue g theaforesaid schem eand artifice to defraud and attem pting to doso,
       and toobtain and attem ptto obtain m oney Irom Onorato by m eansoffalseand
       fraudulentpretenses,representations,and prom isesand by theom ission of
       m aterialfacts,did causeto be kanKm itted in interstatecom merce by m earu of
       interstatew ize,radio,and television com municationscertain signs,signals,and
       sounds,that1,thew ire kansferof$1.35 ml
                                             'llion from Onorato's banking
       instim tion in theN orthem DisàictofGeorgiato ParkCapitaiGroup'sbm king
       inKtim tion kaM iami,Floridw in violation ofTitle18,United StatesCode,Section
       1343.

                                         CountFour

          24.* egrandjuryallegeseachand everyallegationsetforth in param aphs1
       tiuough 18 ofCountOneabove,asifeach and every aliegation w asfully set
       forth herein.

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          25.On oraboutNovem ber30,2œ 8,in theNorthern DistrictofGeorgiaand
       elsewhere,the defendant,M AU HEW KV INSM ITH ,fordnepurpose of
       executing theaforesaid schem eand artifice to defraud and attem pting to do so,
       and toobtain and attem ptto obtain money from Onoratoby m eansoffalseand
       fraudulentpretenses,representations,and prom isesand by the om ission of
       m aterialfacts,did cause tobe tansm itted in interstatecomm erce by m eansof
       interstatew ire,radio,and televisioncomm unicatiom certain signs,signals,and
       sounds,thatis,atelephonecallbetween Ron Onorato in the Northern Disœictof
       Georgia and defendantin M iam i,Florida,in violation ofTitle 18,United State.s
       Code,Secdon 1343.

                                          CountFive

          26.n egrandjuryallegeseach andeveryallegationsetforth in paragraphs1
       through 18 ofCountOneabove,asifeach and every allegation wasfullyset
       forth herein.
          27.On oraboutDecem ber12,20* ,in the Northern DistictofGeorgia and
       elsewhere,thedefendm t,M AW H EW KLEINSM ITH,forthe purposeof
       execuA g theaforesaid scheme and arf ice todefraud and attem pting todoso,
       and to obtain and attem pttoobtain m oney from Onorato by meartsoffalseand
       fraudulentpretenses,representatioM ,and prom isesand by the om ission of
       m aterialfacl,did cause to be kansm itted in interstate com m erce by m earts of
       interstate w ize,radio,and television cèm m tm icatioruscertain sigrts,signals,and
       sotmds,thatis,the w1e kansferof$1.25 m illion from Onorato'sbanking
       instim tion in the Northern DiskictofGeorgiato Park CapitalGroup'sbanking
                  .



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       l stim tion in M iam i,Florida,in viotation ofTitle 18, United StatesCode,Section
       1343.

                                          CountSix
          28.Thegrandjuryallegeseachandeveryallegationsetforthinparagrapits1
       through 18 ofCountOneabove,asifeach and every allegation wasfully set
       forth herein.
         29.On oraboutDecem ber16,2008,k)i eNorthern DistrictofGeorgia and
       elsew here,thedefendant,M ATTH EW KLEINSM ITH,forthe purpose of
       execue g theaforesaid schem eand artificeto defraud and attem pe g to do so,
       and to obtatn and attem ptto obtain money from Onorato by m eansoffalseand
       fraudulentpretenses,representations,and prom isesand by the om ission of
       m aterialfacl,did cause to betransm itted in intefstatecom merceby meansof
       interstate w ire,radio,and television com municationscertainsigns,signals,and
       sounds,1 atis,thew irekansfezof$500,000 from Onorato'sbasking institution
       in the Northern DistrictofGeorgiato Park CapitalGroup'sbanking instituuon in
       M iam i,Rorida,:7violation ofTide 18,United StatesCode,Section 1343.

                                         CountSeven

         30.On oraboutNovem ber25,2008,in the Northem DistrictofGeorgia and
       elsewhere,dnedefendant,M AU HEW KLEINSM ITH,did know Mgly engage1,
       attem ptto engage1 ,and causeotherstoengagein am onetary transaction by
       and i rougha financialirutim tion affecdng interstate and foreign com m erce,in
       crimlnally derivedpropeo ofanamountgreater+an $10,000,towittthe
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       transferof$1m illion from abankaccountheldby defendant,doing businessas
       Park CapitalGroup,LLC,in M imni,Florida, to abank accountheld by Realistic
       Enterprises,ùlCincmnati,Ohio,said$1millionhaving been derived Irom
       specified unlaw fulactivity,thatis,theschem eand aztifice to defraud and to
       obkmin m oney by m eansolfalseand fzaudulentpretenses, representations,gnd
       prom ises described ùnparagraphs1-19ofCountOneofthis indictm ent, in
       violation ofTitle 18,United StatesCode,Section 1957.

                                         CountEight
          31.On oraboutDecem ber12,2008,in the Northern DistrictofGeorgiaand
       elsewheze,tihedefendant,M ATTH EW KLEINSM ITH ,did knowingly engage 117,
       attem ptto engage1 ,and causeothersto engagein a m onetary traM action by
       and through a financialH titution affecting intezstateand foreign comm erce,:4
       crim inally dezived property ofan am ountgreaterthan $10,000,to wit:the
       transferof$1 m illion from abank accountbeld by defendant,doingbusinessas
       Park CapitalGroup,LLC,in M iam i,Florida,toabank accountheld by P.E.,in
       the DistrictofM aryland,said $1million having been derived from specified
       unlaw fulactivity,thatis,theschem eand artificeto defraud and toobtain m oney
       by m eansoffalseand fxaudulenipzetenses,repzesentaions,and prom ises
       described in paragraphs 1-19 ofCountOneofthis indictm ent,in violation of
       Title 18,U nited States C ode,Section 1957.
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                                           CountN ine

          32.OnoraboutDecember16,200% in theNorthernDis/ictofGeorgiaand
       elsewhere,tlne defendant,M AW H EW KLEINSM ITH,did know ingly engage1,
       attem ptto engage in,and causeother.
                                          sto engage in a m onetary kansaction by
       and tigough afinancialinstitution affecting interstateand foreign com m erce,in
       crim inally derived property ofan am ountgreaterthan $10,000,to wit:the
       tansferof$550,000 from a bank accountheld by defendant,doing businessas
       Park CapitalGroup,LLC,in M iafni,Florida,to a bank accountheld by Realistic
       Entem rises,in Cincinnatt Ohio,atleast$500.000 ofsaid $550,000having been
       dedved from specified unlaw fulactivitp thatis,theschem eand artifice to
       defraud and to obtain m oney by m eax offalseand fraudulentpretenses,
       representations,and prom isesdesc ibed in paragraphs1-19 ofCountOneofthis
       indic> ent,in violation ofTitle18,United StatesCode,Section 1957.


                                              A             zl zo                BILL

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                                                        FORE ERSO
       SALLY QUILLIAN YATES
        United SlfesA ttorney

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